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From:    miriam grossman <miriamgrossmanmd@hotmail.com>
To:      Andre Van Mol <95andrev@gmail.com>, Andrew.Sheeran@ahca.myflorida.com
Cc:      Weida Jason <Jason.Weida@ahca.myflorida.com>, Van Meter Quentin
<kidendo@comcast.net>, "Sheeran, Andrew" <Andrew.Sheeran@ahca.myflorida.com>
Subject: Medicaid Coverage for Gender Affirming Care (Privileged & Confidential)
Sent:    2022-07-10T03:08:29Z

Hi everyone,
I just wanted to say how much I enjoyed the two hours. I was so pleased to hear a huge majority
speaking in favor. They were such salt of the earth, patriotic, common sense people, I loved it
and loved how they cheered each time de Santis was mentioned. I did not hear most of what you
guys on the panel said due to a hitch with the audio. I was prepared to be challenged and put on
the spot but the clock ticked and ticked and…nothing. Where did all the opposition go? Weren’t
you expecting a bigger turnout? That one church really brought a lot of people! I was smiling ear
to ear by the end.

To which state do we go next? I’m ready.

Miriam

Sent from my iPad


        On Jul 8, 2022, at 12:29 AM, Andre Van Mol <95andrev@gmail.com> wrote:


        ﻿ Late morning sounds good. BTW, I got from Paul Hruz his classic takedown of
         the p.10 AAP letter slogan that randomized controlled trials may be unethical in
         GAT.
         "It is often argued that conducting randomized controlled trials in the field
         of gender medicine would be unethical. This is based upon the false
         premise that the control group would receive no specific therapy.
         However, in scientific investigation all variables except the independent
         variable being tested are kept constant in both experimental and control
         groups. Thus, although members of the control group do not receive the
         intervention being studied, they are provided with all other aspects of
         treatment indicated for the condition; that is, they receive standard care.
         There are numerous means of psychological support for anxiety,
         depression, and other comorbidities associated with gender dysphoria.
         Coping skills can be developed in both treatment arms.”

Andre


              On Jul 7, 2022, at 8:13 PM, Weida, Jason
              <Jason.Weida@ahca.myflorida.com> wrote:

Got it. Thanks. We can discuss tomorrow. I got a conference room at the Agency          Pl. Trial Ex. 307
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             for us if you want to come over before we head out to the hearing.
              Come at your leisure. Perhaps mid to late morning? We’ll be
             heading over the hearing in the same vehicle (rental van) around
             2:20.

Get Outlook for iOS


From: Andre Van Mol <95andrev@gmail.com>
Sent: Thursday, July 7, 2022 10:23:28 PM
To: Weida, Jason <Jason.Weida@ahca.myflorida.com>; Van Meter Quentin
               <kidendo@comcast.net>; Grossman Miriam
               <miriamgrossmanmd@hotmail.com>; Sheeran, Andrew
               <Andrew.Sheeran@ahca.myflorida.com>
Subject: Re: AAP-FCAAP Comment Letter: Medicaid Coverage for Gender Affirming Care
               (Privileged & Confidential)

Here is my rebuttal of the AAP statement. Yellow highlights and usually
             embedded comments. I’m doing this from inside a plane on the
             tarmac using my iPhone hot spot, so I hope it works. :)

Andre


                    On Jul 7, 2022, at 3:10 PM, miriam grossman
                    <miriamgrossmanmd@hotmail.com> wrote:

                    Hi Jason
                    Thanks for forwarding. I skimmed through and don’t see
                    any surprises. Please refer audience questions about
                    standards of care to the other docs who are more articulate
                    on this subject than I.
                    Miriam

Sent from my iPhone


                          On Jul 7, 2022, at 5:25 PM, Weida, Jason
                          <Jason.Weida@ahca.myflorida.com> wrote:


                          ﻿
                              PRIVILEGED & CONFIDENTIAL
                              ATTORNEY WORK PRODUCT PROTECTED

                              Andre, Quentin, and Miriam,

                              Please see the below and attached. Today, the
                              American Academy of Pediatrics and its Florida
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                        Chapter have submitted this white paper
                        responding to the GAPMS report and the
                        proposal rule. I encourage you to read it.

                        Thanks,
                        Jason


                            From: MEDICAID RULE COMMENTS
                            <MEDICAIDRULECOMMENTS@ahca.myflorida.c
                            om>
Sent: Thursday, July 7, 2022 5:11 PM
To: Weida, Jason <Jason.Weida@ahca.myflorida.com>
Subject: FW: AAP-FCAAP Comment Letter: Medicaid Coverage for Gender
                            Affirming Care




                            From: Scott Van Deman
                            <communications@fcaap.org>
Sent: Thursday, July 7, 2022 1:59 PM
To: MEDICAID RULE COMMENTS
                            <MEDICAIDRULECOMMENTS@ahca.myflorida.c
                            om>
Cc: Hudson, Jeff <JHudson@aap.org>; Alicia E. Adams, Esq.
                            <master@fcaap.org>
Subject: AAP-FCAAP Comment Letter: Medicaid Coverage for Gender
                            Affirming Care

                        To whom it may concern:

                        Thank you for the opportunity to provide
                        commentary to the Agency for Healthcare
                        Administration on Medicaid rules currently
                        being considered.

                        Attached is a joint letter from The American
                        Academy of Pediatrics and the Florida Chapter
                        of the American Academy of Pediatrics
                        pertaining to the proposed rule concerning
                        Medicaid’s coverage of gender affirming care.
                        This letter also has been submitted
                        electronically through the feedback form at the
                        Florida Department of State public notice
                        number 25979915.

                        I am requesting that you please acknowledge
                        receipt of this communication via return email.
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                Thank you once again, and please let me know
                if you have any questions.

                Sincerely,

                Scott VanDeman
                Communications Coordinator
                Florida Chapter of American Academy of
                Pediatrics, Inc.
                Call: 850-224-3939, ext. 1005 |Text: 850-772-
                0654| Fax: 912-452-9050
                Email: svandeman@fcaap.org |
                Website: fcaap.org
                Mail: 1400 Village Square Blvd., #3-87786,
                Tallahassee, FL 32312




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           Coverage for Gender-Affirming Care (FINAL).pdf>
